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 1                                   UNITED STATES DISTRICT COURT
 2                                           DISTRICT OF NEVADA
 3                                                       ***
 4     UNITED STATES OF AMERICA,                                Case No. 2:14-cr-00099-APG-PAL
 5                              Plaintiff,
                                                                ORDER DENYING MOTION TO
 6           v.                                                 VACATE
 7     MICHAEL KNAPP,                                           (ECF NO. 110)
 8                              Defendant.
 9

10           Federal Inmate Michael Knapp moves to vacate his sentence under 28 U.S.C. § 2255. He

11    contends that his sentence enhancement for being a career offender under the United States

12    Sentencing Guidelines is infirm after Johnson v. United States, in which the Supreme Court

13    struck down part of a similar enhancement in the Armed Career Criminal Act.1 I initially stayed

14    Knapp’s motion because a case pending before the Supreme Court, Beckles v. United States,

15    would potentially dispose of it.2 After the Beckles decision was issued in March 2016, Knapp

16    moved for additional time to supplement his motion to vacate. I granted his motion, giving

17    Knapp until June 12, 2017 to file his supplement.3 That deadline passed and Knapp failed to file

18    any additional authority or analysis to support his arguments. I thus lift the stay and address his

19    original motion.

20           Knapp argues that his career offender enhancement under the U.S. Sentencing Guidelines

21    is infirm because, in Johnson, the Supreme Court held that a similar enhancement was

22    unconstitutionally vague in the Armed Career Criminal Act.4 But the Beckles decision squarely

23    defeats Knapp’s argument: the High Court held that “the advisory Sentencing Guidelines are not

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25           1
                 Johnson v. United States, 135 S. Ct. 2551 (2015).
26           2
                 ECF No. 124.
             3
27               ECF No. 128.
             4
                 ECF No. 110 at 3.
28
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 1    subject to a vagueness challenge.”5 The Court explained that Johnson is of no help to defendants

 2    like Knapp who seek to challenge their career offender status under the Sentencing Guidelines.6

 3            Because Knapp’s only argument relies on Johnson, and because the Supreme Court has

 4    expressly held that Johnson does not apply here, Knapp’s motion is defeated both by 28 U.S.C.

 5    § 2255’s procedural bar and on the merits. Because Knapp’s motion was untimely, § 2255 allows

 6    Knapp to challenge his sentence only if he relies on a constitutional right newly recognized by the

 7    Supreme Court—and in light of Beckles he no longer does.7 And in any event, it is clear that his

 8    challenge fails on the merits under Beckles.

 9            To appeal this order, Knapp must receive a certificate of appealability from a circuit or

10    district judge.8 To obtain this certificate, Knapp “must make a substantial showing of the denial

11    of a constitutional right, a demonstration that . . . includes showing that reasonable jurists could

12    debate whether (or, for that matter, agree that) the petition should have been resolved in a

13    different manner or that the issues presented were adequate to deserve encouragement to proceed

14    further.”9 Given the express authority holding that Knapp is barred from bringing his challenge, I

15    deny his request for a certificate of appealability.

16            IT IS THEREFORE ORDERED that the defendant’s motion under 28 U.S.C. § 2255

17    (ECF No. 110) is DENIED.

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              5
                  Beckles v. United States, 137 S. Ct. 886, 888 (2017).
21            6
                  Id.
22            7
                Because Knapp did not file his motion within one year of his judgment, 28 U.S.C. § 2255
      requires that he file his motion within “one year of the date on which the right asserted was initially
23    recognized by the Supreme Court.” But because he cannot assert the right recognized in Johnson, he
      missed his filing deadline.
24
              8
                  28 U.S.C. § 2253(c)(1)(B); Fed. R. App. P. 22(b)(1); 9th Cir. R. 22–1(a).
25            9
                  Slack v. McDaniel, 529 U.S. 473, 483–84 (2000) (quotation omitted).
26
                                                        Page 2 of 3
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 1          IT IS FURTHER ORDERED that the defendant’s request for a certificate of appealability

 2    is DENIED.

 3          IT IS FURTHER ORDERED that the defendant’s request an evidentiary hearing is

 4    DENIED.

 5          DATED this 2nd day of August.

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 7                                                    ANDREW P. GORDON
                                                      UNITED STATES DISTRICT JUDGE
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